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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION
True the Vote, Jane Coln, Brandie Correro,      §
Chad Higdon, Jennifer Higdon, Gene              §
Hopkins, Frederick Lee Jenkins, Mary            §
Jenkins, Tavish Kelly, Donna Knezevich,         §
Joseph Knezevich, Doris Lee, Lauren Lynch,      §
Norma Mackey, Roy Nicholson, Mark               §
Patrick, Julie Patrick, Paul Patrick, David     §
Philley, Grant Sowell, Sybil Tribble, Laura     §
VanOverschelde, and Elaine Vechorik             §
       Plaintiffs,                              §
                                                §   Cause No. 3:14-cv-00532-HTW-LRA
v.                                              §
The Honorable Delbert Hosemann, in his          §
official capacity as Secretary of State for the §
State of Mississippi, The Republican Party of §
Mississippi, Copiah County, Mississippi         §
Election Commission, Hinds County,              §
Mississippi Election Commission, Jefferson      §
Davis County, Mississippi Election              §
Commission, Lauderdale County,                  §
Mississippi Election Commission, Leake          §
County, Mississippi Election Commission,        §
Madison County, Mississippi Election            §
Commission, Rankin County, Mississippi          §
Election Commission, Simpson County,            §
Mississippi Election Commission, and Yazoo §
County, Mississippi Election Commission         §
                                                §
       Defendants.                              §

                 SUMMARY JUDGMENT EXHIBITS – VOLUME 6

Exhibit          Description
                 Administrative Regulations of Secretary of State, Part 16, Chapter
19
                 1, Rule 4.1
20               VR-28 for June 3 Primary
21               VR-28 for June 24 Primary
22               DX5 and DX6, Exhibit 1, p. 140
23               DX5 and DX6, Exhibit 1, p. 140
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                                                                                            EXHIBIT 19
Title 1: Secretary of State

Part 16: Elections – Voter Photo Identification

Part 16 Chapter 1: Definitions

Rule 1.1 Definitions.

       A.     “Acceptable Photographic Identification” means a current and valid:
              1)      Mississippi driver’s license,
              2)      Identification card, including, but not limited to, an employee identification
                      card containing a photograph of the elector, issued by a branch, department,
                      agency or entity of the State of Mississippi,
              3)      United States passport,
              4)      Employee identification card containing a photograph of the elector issued
                      by any branch, department, agency or entity of the United States
                      government,
              5)      Mississippi license containing a photograph of the elector to carry a pistol or
                      revolver,
              6)      Tribal identification card containing a photograph of the elector,
              7)      United States military identification card containing a photograph of the
                      elector,
              8)      Student identification card, containing a photograph of the elector, issued by
                      an accredited college, university or community or junior college in the State
                      of Mississippi,
              9)      Mississippi Voter Identification Card, and
             10)      Photo identification issued by any branch, department, agency or entity of
                      the United States government or any state government including, but not
                      limited to, a driver’s license issued by a state other than Mississippi.
       B.    “Accredited college, university, community or junior college in the State of
             Mississippi” means a college, university, community college or junior college
             approved by the Mississippi Commission on College Accreditation.
       C.    “Business Days” means those days on which each Registrar’s office is open for
             business, including those Saturdays on which each Registrar’s office is open for
             purposes as provided by statute.
       D.    “Current” means the document has no expiration date or has an issuance date not
             more than ten (10) years prior to the date the document is presented.
       E.     “EVVE” means the Electronic Verification of Vital Events system.
       F.     “Mississippi Voter Identification Card” means a card issued by the State of
              Mississippi through the individual offices of each county Registrar pursuant to
              Miss. Code Ann. Section 23-15-7, solely for the purpose of identifying a qualified
              elector by photographic identification who presents to a Registrar, Municipal Clerk

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                or polling place to vote.
       G.       “Photo Identity Document” means a valid, but not current document, containing the
                elector’s name and a photograph that fairly depicts the elector, issued by any
                branch, department, agency, division or entity of the United States government or
                any state government.
       H.       “Qualified Elector”, as defined by Miss. Code Ann. Section 23-15-11, means every
                inhabitant of the state of Mississippi, except persons adjudicated to be non compos
                mentis, who is a citizen of the United States, eighteen (18) years old and upwards,
                who has resided in the state of Mississippi for thirty (30) days and for thirty (30)
                days in the county in which he or she seeks to vote, and for thirty (30) days in the
                incorporated municipality in which he or she seeks to vote, and who has been duly
                registered as an elector pursuant to Miss. Code Ann. Section 23-15-33, and who has
                never been convicted of any crime provided within Section 241 of the Mississippi
                Constitution of 1890.
       I.       “Registrar” means each of the eighty-two (82) county registrars of elections,
                appointed by the State Board of Election Commissioners, pursuant to Miss. Code
                Ann. Section 23-15-223, and each deputy registrar as authorized by law.
       J.       “Receipt for the Mississippi Voter Identification Card” means a document, issued
                by the State of Mississippi through the individual offices of each county Registrar
                pursuant to Miss. Code Ann. Section 23-15-631, solely for the purpose of providing
                temporary Acceptable Photographic Identification to a qualified elector by who
                presents to a Registrar, Municipal Clerk or polling place to vote within forty-five
                (45) days after issuance.
       K.       “SEMS” means the Statewide Elections Management System which is
                Mississippi’s electronic voter roll.
       L.       “State-licensed care facility” means an institution for the aged or infirm as defined
                by Miss. Code Ann. Section 43-11-1.
       M.       “UOCAVA” means the Uniformed and Overseas Citizens Absentee Voting Act.
       N.       “Valid” means a document is what it purports to be, and is not a fake or forgery.

Source: Miss. Code Ann. Section 23-15-7(8).

Part 16 Chapter 2: Effective Date of Mississippi Voter Photo Identification

Rule 2.1       Beginning with Elections held in the State of Mississippi occurring on or after June
3, 2014, each qualified elector, who is not exempt from these requirements and who appears in
person to vote by absentee ballot in the Registrar’s Office or Municipal Clerk’s Office, or who
appears to vote at his or her polling place on an election day, must identify himself or herself by
presenting Acceptable Photographic Identification as defined by Rule 1.1(A) before the elector
may cast his or her ballot and vote.

Source: Miss. Code Ann. Section 23-15-7(8).



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Part 16 Chapter 3: Mississippi Voter Identification Card

Rule 3.1       Intent and Purpose.

       A.      These rules are promulgated pursuant to the authority granted the Mississippi
               Secretary of State under Miss. Code Ann. Section 23-15-7.

       B.      It is the intent of the Mississippi Secretary of State to provide for the time, place,
               and manner in which each Registrar’s Office shall issue the Mississippi Voter
               Identification Card to eligible electors, to provide for the acceptable types of
               documentation or information necessary for an eligible elector to obtain the
               Mississippi Voter Identification Card, and to provide certain other rules governing
               the Mississippi Voter Photo Identification law.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.2       Availability of Mississippi Voter Identification Card.

       A.      Eligible electors may apply for a Mississippi Voter Identification Card at the office
               of each Registrar and mobile locations, where available.
       B.      The Registrar shall provide a location in his or her office at which he or she shall
               make available and accept applications for the Mississippi Voter Identification Card
               and issue the Receipt for the Mississippi Voter Identification Card.
       C.      In counties having two (2) judicial districts, the Registrar shall provide a location in
               his or her office in each judicial district, at which he or she shall make available and
               accept applications for the Mississippi Voter Identification Card and issue the
               Receipt for the Mississippi Voter Identification Card.
       D.      The Registrar shall accept applications for the Mississippi Voter Identification Card
               and issue the Receipt for the Mississippi Voter Identification Card during normal
               business hours and during such additional hours as are provided by statute.
       E.      The Registrar of the elector’s county of residence shall be provided notice of the
               elector’s submission of an application for and issuance of a Receipt for the
               Mississippi Voter Identification Card from the issuing Registrar’s office.
       F.      No fee shall be charged to the applicant or collected by the Registrar for his or her
               provision and acceptance of the application for the Mississippi Voter Identification
               Card or the issuance of the Receipt for the Mississippi Voter Identification Card.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.3       Application for Mississippi Voter Identification Card.

       A.      The Registrar shall provide a uniform application for the Mississippi Voter

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               Identification Card in the form designed and published by the Mississippi Secretary
               of State as set forth in Part 16, Exhibit A.
       B.      The State of Mississippi shall make proper allowances and reimburse the Registrar
               for equipment and office supplies reasonably necessary for the issuance of the
               Receipt for the Mississippi Voter Identification Card.
       C.      The application shall require the elector to (i) affirm he or she is registered to vote
               in Mississippi, or is registering to vote at the same time he or she is submitting an
               application for the Mississippi Voter Identification Card; (ii) affirm he or she does
               not currently possess Acceptable Photographic Identification as defined by Rule
               1.1(A) to vote; and (iii) provide his or her full legal name, date of birth, legal
               residence address, and mailing address, if different.
       D.      The application shall be signed under oath, in the presence of the Registrar, and any
               falsification or fraud committed in making the application for the Mississippi Voter
               Identification Card shall constitute false swearing as defined and punishable by
               Miss. Code Ann. Section 97-7-35.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.4 Eligibility for Issuance of the Mississippi Voter Identification Card. No qualified
elector shall be eligible to obtain the Mississippi Voter Identification Card if that person currently
possesses Acceptable Photographic Identification as defined in Rule 1.1(A).

Rule 3.5 Documentation Required for Issuance of the Mississippi Voter Identification Card.
Before issuing a Mississippi Voter Identification Card, the Registrar shall require an elector to:

       A.      Complete and sign an application and
       B.      Present any one of the following forms of documentation:

               1.      Photo Identity Document;
               2.      Any documentation which sets forth the elector’s full legal name, date and
                       place of birth, including, but not limited to, a birth certificate;
               3.      A Social Security card;
               4.      A Medicare card;
               5.      A Medicaid card;
               6.      Any of the following documents, provided the document sets forth the
                       elector’s name and his or her principal residential address:
                       i.      Utility bill issued within the past six (6) months,
                       ii.     Bank statement issued within the past six (6) months,
                       iii.    Paycheck issued within the past six (6) months,
                       iv.     Government check issued within the past six (6) months, or
                       v.      Any other government document that shows the elector’s name and
                               his or her principal residential address issued within the current

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                             calendar year including, without limitation, an IRS Form W-2, Wage
                             and Tax Statement; or
               7.     Mississippi Voter Registration Card.

       C.      If an elector cannot present any one of the forms of documentation set forth in Rule
               3.5(B), the Registrar may electronically verify the elector’s birth information by
               virtue of each Registrar’s access to EVVE, free of charge to the elector. The
               verification of the elector’s birth information by the Registrar shall provide the
               required identification of the elector. No additional documentation as set forth in
               Rule 3.5(B) shall be required of the elector.
       D.      A qualified, eligible elector submitting an application for the Mississippi Voter
               Identification Card, who is unable to read or write by reason of disability or
               otherwise, and who requests assistance, shall not be required to personally complete
               the application in writing, but shall be required to execute the oath. In such cases,
               the Registrar shall read the application and oath to the elector, and the elector’s
               answers thereto shall be written by the Registrar in completion of the application,
               with the elector making his mark, if unable to sign his or her name upon the oath.
               The Registrar shall write the name of the applying elector around or adjacent to the
               mark and indicate that the mark is that of the applying elector.
       E.      The oath of an eligible elector, submitting an application for the Mississippi Voter
               Identification Card, who is unable to read or write by reason of disability or
               otherwise, who requests assistance, and who is unable to execute the oath by
               signing his or her name or making his or her mark, shall be completed by the
               Registrar on behalf of the applying elector. The Registrar shall write the elector’s
               name in completion of the oath and indicate that the applying elector is unable to
               sign his or her name or make his or her mark upon the oath.

Source: Miss. Code Ann. Sections 23-15-7(6) and 23-15-7(8).

Rule 3.6       Processing the Application for Mississippi Voter Identification Card.

       A.      To process the elector’s application for the Mississippi Voter Identification Card,
               the Registrar shall require the elector to:

               1.     Complete the Mississippi Voter Identification Card Application, and
               2.     Present any one of the forms of documentation set forth in Rule 3.5(B) or
                      satisfy the requirements of Rule 3.5(C).

       B.      If the elector presents a Photo Identity Document pursuant to Rule 3.5(B)(1), the
               Registrar shall verify:

              1.      The photograph on the document “fairly depicts” the elector based on the
                      guidelines set forth in Rule 4.1(B)(2) below,

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     2.      The name on the document and the application is “substantially similar” to
             the name of the elector in SEMS based on the guidelines set forth in Rule
             4.1(B)(3) below; and
     3.      The address provided on the application is the same address of the elector in
             SEMS.

C.   If the elector submits documentation pursuant to Rule 3.5(B)(2), the Registrar shall
     verify the name on the document and the application is “substantially similar” to the
     name of the elector in SEMS based on the guidelines set forth in Rule 4.1(B)(3)
     below.

D.   If the elector submits documentation pursuant to Rule 3.5(B)(3) – (7), the Registrar
     shall verify:

     1.      The name on the document and the application is “substantially similar” to
             the name of the elector in SEMS based on the guidelines set forth in Rule
             4.1(B)(3) below;
     2.      The address provided in the document, if any, and the address provided in
             the application is the same address of the elector in SEMS;
     3.      If the elector is not registered to vote by the address provided in the
             document and provided in the application, the Registrar shall change the
             elector’s address as it appears in SEMS to match the address provided in the
             document and the application; and
     4.      If the elector is not registered to vote by his or her full legal name (because
             the elector used an initial, abbreviation, maiden name, etc.), the Registrar
             shall change the elector’s name as it appears in SEMS to match the elector’s
             name as provided on his or her application.

E.   If the elector completes, signs, and submits a valid application and presents any one
     of the forms of identification set forth in Rule 3.5(B), as verified by the Registrar
     pursuant to Rule 3.6(B)-(D), or satisfies the requirements of Rule 3.5(C), the
     Registrar shall immediately:

     1.      Capture a digital photograph of the elector utilizing the equipment, supplies
             and training provided by the State of Mississippi,
     2.      Issue the Receipt for the Mississippi Voter Identification Card to the elector,
             which shall contain the digital photograph of the elector, utilizing the
             equipment, supplies and training provided by the State of Mississippi, if an
             election is to be held within forty-five (45) days of the date of the elector’s
             application,
     3.      Inform the elector that he or she shall receive the Mississippi Voter
             Identification Card within fourteen (14) calendar days, and may use the
             Receipt for the Mississippi Voter Identification Card to vote in any election
             held within forty-five (45) days from the date of the elector’s application,

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                       and
              4.       Transmit the required information to produce the Mississippi Voter
                       Identification Card to the third-party vendor.

       F.     If the elector completes, signs and submits a valid application, but the Registrar
              determines the elector does not satisfy the requirements of Rule 3.5(B) or Rule
              3.5(C), the Registrar shall immediately advise the elector of the reason(s) why the
              application has been denied, and further advise the elector of the availability of an
              appeal process identical to the process provided an elector denied registration
              pursuant to Miss. Code Ann. Sections 23-15-61 and 23-15-63.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.7        Automatic Review and Appeal of a Registrar’s Denial of Mississippi Voter
Identification Card. In the event an elector is denied issuance of a Mississippi Voter Identification
Card, there shall be an automatic review by the county election commission and appeal process
available to the elector pursuant to Miss. Code Ann. Sections 23-15-61 through 23-15-79.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.8       Cancellation and Surrender of Mississippi Voter Identification Card.

       A.      The Registrar may cancel and require surrender of a Mississippi Voter
               Identification Card upon confirmation the card was issued to a person not entitled
               thereto.
       B.      A Mississippi Voter Identification Card may be cancelled or required to be
               surrendered by the elector if:
               1.      The elector is deceased,
               2.      The elector is convicted of a disenfranchising crime,
               3.      The elector is adjudicated to be incompetent,
               4.      The elector has moved outside of the State of Mississippi, or
               5.      The elector is otherwise no longer qualified to vote in Mississippi.
       C.      A Registrar, who cancels and/or requires surrender of a Mississippi Voter
               Identification Card shall immediately record the event in SEMS, and provide
               written notice to the elector by United States mail to the address provided for the
               elector in SEMS. The notice to the elector shall advise the elector of his or her
               right to appeal the cancellation or required surrender of the Mississippi Voter
               Identification Card pursuant to a process identical to the process set forth in Miss.
               Code Ann. Sections 23-15-61 and 23-15-63.

Source: Miss. Code Ann. Section 23-15-7(8).



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Rule 3.9        Replacement of Mississippi Voter Identification Card. If a previously issued
Mississippi Voter Identification Card has been lost, destroyed, marred or mutilated, the name of
the elector has changed, or the gender of the elector has changed, a replacement Mississippi Voter
Identification Card may be issued to the elector in accordance with Rules 3.3 through 3.6.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.10      Validity of Mississippi Voter Identification Card.

       A.      A Mississippi Voter Identification Card shall remain valid for as long as the elector
               remains qualified to vote in Mississippi.

       B.      It shall be the duty of an elector who moves his or her residence outside the state of
               Mississippi, or who ceases to be qualified to vote in Mississippi, to either surrender
               his or her card to the issuing Registrar or destroy the same.

Source: Miss. Code Ann. Section 23-15-7(8).

Part 16 Chapter 4: Voting with Acceptable Photographic Identification

Rule 4.1       Election Official Determination of Acceptable Photographic Identification.

       A.      Each qualified elector, who is not exempt from these requirements and who appears
               to vote in person by absentee ballot in the Registrar’s Office or Municipal Clerk’s
               Office, or at his or her polling place on an election day, must identify himself or
               herself by presenting Acceptable Photographic Identification as defined by Rule
               1.1(A) before the elector may cast his or her ballot and vote.

       B.      The election official shall verify:

              1.      The presented document is Acceptable Photographic Identification as
                      defined by Rule 1.1(A),

              2.      The photograph on the Acceptable Photographic Identification “fairly
                      depicts” the elector,

                     a.       If the election official is unable to determine whether the elector is
                              the person depicted in the Acceptable Photographic Identification, or
                              affirmatively determines the elector is not the person depicted in the
                              Acceptable Photographic Identification, the election official shall
                              confer with the poll manager designated as the Bailiff, if the elector
                              is voting in person in the polling place on an election day, or a

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                 second election official, if the elector is voting by absentee ballot in
                 the Registrar’s office or Municipal Clerk’s Office.

         b.      If the Bailiff, or second election official, is likewise unable to
                 determine whether the elector is the person depicted in the
                 Acceptable Photographic Identification, or affirmatively determines
                 the elector is not the person depicted in the Acceptable Photographic
                 Identification, the elector shall be entitled to vote by affidavit ballot.

          c.     If the Bailiff, or the second election official, is able to determine the
                 elector is the person depicted in the Acceptable Photographic
                 Identification, the elector shall be entitled to cast his or her ballot.

    3.    The elector’s name as it appears on the Acceptable Photographic
          Identification is “substantially similar” to the elector’s name as it appears on
          the poll book.

          a.     An elector’s name on the Acceptable Photographic Identification is
                 “substantially similar” to the name on the poll book if one or more of
                 the following circumstances are present:

                 i.      The name on the Acceptable Photographic Identification is
                         slightly different from the name as it appears on the poll
                         book;
                  ii.    The name on the Acceptable Photographic Identification, or
                         on the poll book, is a customary variation or abbreviation of
                         the formal name such as, for purposes of illustration only,
                         “Bill” or “Wm.” for “William”, or “Pam” for “Pamela”;
                  iii.   The name on the Acceptable Photographic Identification
                         includes an initial, or a middle name that does not appear on
                         the poll book, or vice versa, such as, for purposes of
                         illustration only, “James W. Smith” or “James Wilson
                         Smith”; or
                  iv.    A first name, middle name, former name, maiden name or
                         initial of the elector’s name appears in a different order on
                         the Acceptable Photographic Identification than the name
                         appears on poll book, such as, for purposes of illustration
                         only, “Alice Elizabeth Roberts” for “Elizabeth Alice
                         Roberts”.

          b.      If the elector’s middle or last name on the Acceptable Photographic
                  Identification is different from his or her middle or last name as it
                  appears on the poll book due to marriage, divorce, or hyphenation,
                  the elector shall be entitled to cast his or her ballot if:

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                            i.     A part of the name, the address or the date of birth (if
                                   provided) on the Acceptable Photographic Identification
                                   matches a part of the name, the address or the date of birth of
                                   the elector on the poll book; and
                            ii.    The photograph on the Acceptable Photographic
                                   Identification “fairly depicts” the elector.

                     c.     If the election official is unable to determine whether the elector’s
                            name, as it appears on the Acceptable Photographic Identification, is
                            “substantially similar” to the name as it appears on the poll book the
                            election official shall confer with the poll manager designated as the
                            Bailiff, if the elector is voting in person in the polling place on an
                            election day, or a second election official, if the elector is voting by
                            absentee ballot in the Registrar’s office or Municipal Clerk’s Office.

                     d.     If the Bailiff, or second election official, is likewise unable to
                            determine whether the elector’s name, as it appears on the
                            Acceptable Photographic Identification, is “substantially similar” to
                            the name as it appears on the poll book, the elector shall be entitled
                            to vote by affidavit ballot.

                     e.     If the Bailiff, or second election official, is able to determine the
                            elector’s name, as it appears on the Acceptable Photographic
                            Identification, is “substantially similar” to the name as it appears on
                            the poll book, the elector shall be entitled to cast his or her ballot.

                     f.     If the election officials determine, pursuant to Rules 4.1(B)(1)-(3),
                            that the identification presented by the elector is Acceptable
                            Photographic Identification, “fairly depicts” the elector, and contains
                            the name of the elector that is “substantially similar” to the name as
                            it appears on the poll book, the elector shall be entitled to cast his or
                            her ballot.

                     g.     If the election officials determine, pursuant to Rules 4.1(B)(1)-(3),
                            that the identification presented by the elector is not Acceptable
                            Photographic Identification, does not “fairly depict” the elector, or
                            does not contain the name of the elector that is “substantially
                            similar” to the name as it appears on the poll book, the elector shall
                            be entitled to vote by affidavit ballot pursuant to Miss. Code Ann.
                            Section 23-15-573.

Source: Miss. Code Ann. Section 23-15-7(8).



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Part 16 Chapter 5: Voting by Affidavit Ballot

Rule 5.1 If a qualified elector appears at a Registrar’s Office or Municipal Clerk’s Office to vote
by absentee ballot, or at a polling place to vote on an election day, yet is unable to present
Acceptable Photographic Identification, or states he or she has a religious objection to being
photographed, the elector shall be entitled to vote by affidavit ballot pursuant to Miss. Code Ann.
Section 23-15-573.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 5.2 An affidavit ballot cast by an elector because he or she was unable to present Acceptable
Photographic Identification, either at the Registrar’s Office or at the polling place in any election
other than a municipal election, shall not be rejected for this reason if, within five (5) business
days after casting his or her affidavit ballot, the elector presents Acceptable Photographic
Identification, in person, to the Registrar’s Office of the elector’s county of residence.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 5.3 An affidavit ballot cast by an elector because he or she was unable to present Acceptable
Photographic Identification, either at the Municipal Clerk’s Office or at the polling place in a
municipal election, shall not be rejected for this reason if, within five (5) business days after
casting his or her affidavit ballot, the elector presents Acceptable Photographic Identification, in
person, to the Municipal Clerk’s Office of the elector’s city of residence.

Source: Miss. Code Ann. Section 23-15-7(8).

Part 16 Chapter 6: Exempted Electors

Rule 6.1        Religious Objectors.

       A.       An elector who states that he or she does not have Acceptable Photographic
                Identification due to a religious objection to being photographed shall be entitled to
                vote by affidavit ballot pursuant to Miss. Code Ann. Section 23-15-573.
       B.       An affidavit ballot, cast by an elector with a religious objection to being
                photographed in any election other than a municipal election, shall not be rejected
                for this reason if, within five (5) business days after casting his or her affidavit
                ballot, the elector executes a separate affidavit before the Registrar of the elector’s
                county of residence affirming the religious objection of the elector.
       C.       An affidavit ballot, cast by an elector with a religious objection to being
                photographed in a municipal election, shall not be rejected for this reason if, within
                five (5) business days after casting his or her affidavit ballot, the elector executes a
                separate affidavit before the Municipal Clerk of the elector’s city of residence
                affirming the religious objection of the elector.

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Source: Miss. Code Ann. Section 23-15-7(8).

Rule 6.2        An elector who resides at a state-licensed care facility and who votes in person at a
polling place located in that state-licensed care facility, is exempt from photo identification
requirements.

Source: Miss. Code Ann. Section 23-15-7(8).

Part 16 Chapter 7.     Inapplicability of Photo Identification Requirements to Electors Voting by
                       Absentee Ballot Pursuant to UOCAVA, Miss. Code Ann. Sections 23-15-
                       715(b) and 23-15-673

Rule 7.1        Absentee Voting by Mail. An elector who receives and casts his or her vote by
absentee ballot by mail pursuant to Miss. Code Ann. Section 23-15-715(b) is exempt from photo
identification requirements.

Source: Miss. Code Ann. Sections 23-15-7(8) and 23-15-715(b).

Rule 7.2        UOCAVA Voting. An absent elector, as defined by Miss. Code Ann. Section 23-
15-673, who casts his or her vote by absentee ballot by mail, facsimile device (FAX) or electronic
mail delivery (e-mail), pursuant to Miss. Code Ann. Section 23-15-699 is exempt from photo
identification requirements.

Source: Miss. Code Ann. Sections 23-15-7(8), 23-15-673 and 23-15-699.




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Title 1: Secretary of State

Part 16: Elections- Voter Photo Identification

Part 16 Chapter 1: Definitions

Rule 1.1 Definitions.

      A.      “Acceptable Photographic Identification” means a current and valid:
              1)      Mississippi driver's license,
              2)      Identification card, including, but not limited to an employee
              identification card, containing a photograph of the elector issued by a
              branch, department, agency or entity of the State of Mississippi,
              3)      United States passport,
              4)      Employee identification card containing a photograph of the elector
                      issued by any branch, department, agency or entity of the United
                      States government,
              5)      Mississippi license containing a photograph of the elector to carry a
                      pistol or revolver,
              6)      Tribal identification card containing a photograph of the elector,
              7)      United States military identification card containing a photograph of
                      the elector,
              8)      Student identification card, containing a photograph of the elector,
                      issued by an accredited college, university or community or junior
                      college in the State of Mississippi,
              9)      An official Mississippi Voter Identification Card containing a
                      photograph of the elector, and
              10)     Any Photographic identification identity document issued by any
                      branch, department, agency or entity of the United States
                      government or any U. S. state government, including, but not
                      limited to, a driver's license issued by a state other than Mississippi
                      and a Veteran's Universal Access Card.
      B.      An “Assisted Living Center” shall mean an institution for the aged or
      infirm as defined by Miss. Code Ann. Section 43-11-1, licensed by the Mississippi
      Department of Health.
              An "Accredited college, university, community or junior college in the
      State of Mississippi" shall means a college, university, community college or
      junior college approved by the Mississippi Commission on College
      Accreditation.
       C.     "Business Days" shall means those days on which each Registrar's office is open
      for business, including those Saturdays on which each Registrar's office is open for those
      purposes as provided by statute.
      D.      "Current" shall means the document has no expiration date or has an
      issuance was issued at a date not more than ten (10) years prior to the date the
      document is presented.
      E.      "Expired" shall mean the document was issued at a date more than ten (10) years

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       prior to the date the document is presented.
               A “Licensed Nursing Home” shall mean an institution for the aged or infirm as
       defined by Miss. Code Ann. Section 43-11-1, licensed by the Mississippi Department of
       Health.
               “EVVE” means the Electronic Verification of Vital Events system.
       F.      "Mississippi Voter Identification Card" shall means a card issued by the State
       of Mississippi through the individual offices of each county Registrar pursuant to
       Miss. Code Ann. Section 23-15-7, solely for the purpose of identifying a qualified
       elector by photographic identification who presents to a county Registrar, Municipal
       Clerk or polling place, in person, to vote.
       G.      “Photo Identity Document” means a valid, but not current document, containing the
       elector’s name and a photograph that fairly depicts the elector, issued by any branch,
       department, agency, division or entity of the United States government or any state
       government.
       H.      “Photo Identification” shall mean photographic evidence of one’s identity.
       "Qualified Elector", as defined by Miss. Code Ann. Section 23-15-ll, shall refer to
       means every inhabitant of the state of Mississippi, except persons adjudicated to be non
       compos mentis, who is a citizen of the United States, eighteen (18) years old and
       upwards, who has resided in the state of Mississippi for thirty (30) days and for thirty
       (30) days in the county in which he or she seeks to vote, and for thirty (30) days in the
       incorporated municipality in which he or she seeks to vote, and who has been duly
       registered as an elector pursuant to Miss. Code Ann. Section 23-15-33, and who has
       never been convicted of any crime provided within Section 24l of the Mississippi
       Constitution of 1890.
       I.      "Registrar" shall refer to means each of the eighty-two (82) county registrars of
       elections, appointed by the State Board of Election Commissioners, pursuant to Miss.
       Code Ann. Section 23-15-223, and likewise shall include each deputy registrar as
       authorized by law.
       J.      "Receipt for the Mississippi Voter Identification Card" shall means a document
       paper card, issued by the State of Mississippi through the individual offices of each
       county Registrar pursuant to Miss. Code Ann. Section 23-15-631, solely for the purpose
       of providing a temporary Acceptable Photographic Identification means by which to
       identify a qualified elector by photographic identification who presents to a county
       Registrar, Municipal Clerk, or polling place, in person, to vote, which shall expire forty-
       five (45) days after issuance.
       K.      “SEMS” means the Statewide Elections Management System which is
       Mississippi’s electronic voter roll.
       L.      “State-Licensed Care Facility” means an institution for the aged or infirm as
       defined by Miss. Code Ann. Section 43-11-1.
       M.      “UOCAVA” means the Uniformed and Overseas Citizens Absentee Voting Act.
       N.      "Valid" shall means that a document is what it purports to be, and is not a fake
       or forgery.

Source: Miss. Code Ann. Section 23-15-7(8).




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Part 16 Chapter 2: Acceptable Photographic Identification Effective Date of Mississippi Voter
Photo Identification

Rule 2.1        Beginning with Elections held in the State of Mississippi occurring on or after June
3, 2014, e ach qualified elector, of the state of Mississippi, who is not exempt from these
requirements and who appears to vote in person to vote by absentee ballot in the Registrar’s
Office or Municipal Clerk’s Office, or who appears to vote at a his or her polling place on an
election day or at the Registrar's office and is not exempted from these requirements, must
identify himself or herself to an election official by presenting Acceptable Photographic
Identification as defined by Rule 1.1(A) before the elector may cast a ballot one of the following
current and valid (as defined herein at Chapter 1.2 and 1.8 respectively) forms of photographic
identification.

        A.      A Mississippi driver's license,
        B.      An identification card, including, but not limited to an employee
                identification card, containing a photograph of the elector issued by a
                branch, department, agency or entity of the State of Mississippi,
        C.      A United States passport,
        D.      An employee identification card containing a photograph of the elector issued
                by any branch, department, agency or entity of the United States government,
        E.      A Mississippi license containing a photograph of the elector to carry a pistol
                or revolver,
        F.      A tribal identification card containing a photograph of the elector,
        G.      A United States military identification card containing a photograph of
                the elector,
        H.      A student identification card, containing a photograph of the elector, issued by
                any accredited college, university or community or junior college in the State
                of Mississippi,
        I.      An official Mississippi Voter Identification card containing a photograph of
                the elector,
        J.      Any photo identity document issued by any branch, department, agency or entity
                of the U. S. government or any U. S. State, including, but not limited to, a
                driver's license issued by a state other than Mississippi and a Veteran's
                Universal Access Card.

Source: HB921 (2012 Regular Session) Section 1(2); Miss. Code Ann. Section 23-15-7(8).

Part 16 Chapter 3: Mississippi Voter Identification Card

 Rule 3.1      Intent and Purpose.

       A. These rules are promulgated pursuant to the authority granted the Mississippi Secretary
          of State under Miss. Code Ann. Section 23-15-7.

       B. It is the intent of the Mississippi Secretary of State to provide for the time, place,
          and manner in which each county Registrar’s Office shall issue the Mississippi
          Voter Identification Card to eligible electors, to provide for the acceptable types of
          documentation or information necessary for an eligible elector to obtain the

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                 Mississippi Voter Identification Card, and to provide certain other
                 rules governing the Mississippi Voter Photo Identification law.

Source: Miss. Code Atm. Section 23-15-7(8).

Rule 3.2         Availability of Mississippi Voter Identification Card.

           A.    Eligible electors may apply for a Mississippi Voter Identification Card at
                 the office of each Registrar and mobile locations, where available.
           B.    The Registrar of each county shall provide a location in each
                 Registrar's office at which he or she shall make available and accept
                 applications for the Mississippi Voter Identification Card and issue
                 the Receipt for the Mississippi Voter Identification Card.
       C.       In counties having that have two (2) judicial districts, the Registrar shall
                provide a location in his or her the Registrar's office in each judicial
                district, at which he or she shall make available and accept applications
                for the Mississippi Voter Identification Card and issue the Receipt for
                the Mississippi Voter Identification Card.
       D.       The Registrar of each county shall accept applications for the
                Mississippi Voter Identification Card and issue the Receipt for the
                Mississippi Voter Identification Card during normal business hours and
                during such additional hours as are provided by statute.
       E.       Any qualified and eligible elector may submit an application for the
                Mississippi Voter Identification Card at any county Registrar's office in
                the State of Mississippi, and receive issuance of his or her Receipt for
                the Mississippi Voter Identification Card. The Registrar of the
                elector's county of residence shall be provided notice of the elector's
                submission of an application for and issuance of a Receipt for the
                Mississippi Voter Identification Card from the issuing county
                Registrar's office.
       F.        No fee shall be charged to the applicant or collected by the county
                 Registrar for the Registrar's his or her provision and acceptance of
                 the application for the Mississippi Voter Identification Card or the
                 issuance of the Receipt for the Mississippi Voter Identification
                 Card.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.3        Application for Mississippi Voter Identification Card.

       A.       The Registrar of each county shall provide a uniform application for
                the Mississippi Voter Identification Card in the form designed and
                published by the Mississippi Secretary of State as set forth herein at
                in Part 16, Exhibit A.
       B.       The Office of the Secretary of State of Mississippi shall make proper
                allowances and reimburse the Registrar for equipment and office
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               supplies reasonably necessary for the issuance of the Receipt for the
               Mississippi Voter Identification Card.
         C.    The application shall require the elector to (i) affirm he or she is
               registered to vote in Mississippi, or is registering to vote at the same
               time he or she is submitting an application for the Mississippi Voter
               Identification Card, (ii) affirm he or she does not currently possess any
               of the forms of Acceptable Photographic Identification as defined in Rule
               1.1(A) to vote; and (iii) provide his or her full legal name, date of birth,
               legal residence address, and mailing address, if different.
        D.     The application shall be signed under oath, in the presence of the
               Registrar, and any falsification or fraud committed in making the
               application for the Mississippi Voter Identification Card with respect to
               the elector's name and address shall constitute false swearing as defined
               and punishable by Miss. Code Ann. Section 97-7-35.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.4        Eligibility for Issuance of the Mississippi Voter Identification Card. A.
No qualified elector shall be eligible to obtain the Mississippi Voter Identification Card if
that person currently possesses Acceptable Photographic Identification as defined in Rule
1.1(A). a valid and unexpired Mississippi driver's license or a photographic identification
card issued pursuant to Miss. Code Ann. Section 45-35-1, et seq.

       B. To receive the Mississippi Voter Identification Card, the elector must complete
          and sign the application provided by the Registrar and present any of the
          following forms of identification to the Registrar:

                1. A photo identity document. This shall mean any valid and expired
                   document, containing the elector's name, and a photograph that fairly
                   depicts the elector, issued by any branch, department, agency, division
                   or entity of the U.S. government or any U.S. state.

                2. Any documentation which sets forth the elector's full legal name, date
                   and place of birth, includit1g but not limited to a birth certificate.

                3. A Social Security card.

                4. A Medicare card.

                5. A Medicaid card.

                6. Any of the following documents, provided the document sets forth the
                   elector's name and current address:

                      i.      Utility bill issued within the past 60 days,
                      ii.     Bank statement issued within the past 60 days,
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                      iii.    Paycheck issued within the past 60 days, or
                      iv.     Government check issued within the past 60 days.

       C. To receive the Mississippi Voter Identification Card, the Registrar may
          electronically verify the elector's birth information by virtue of each Registrar's
          access to the Electronic Verification of Vital Events system (EVVE). The
          verification of the elector's birth information by the Registrar shall provide the
          required identification of the elector. No additional form of identification as set
          f01ih herein at Chapter 3.4 B. shall be required of the elector. The verification
          of the elector's birth information shall be provided by the Registrar free of
          charge to the elector.

       D. A qualified, eligible elector submitting an application for the Mississippi Voter
          Identification Card who is unable to read or write, for reason of disability or
          otherwise, and who requests assistance shall not be required to personally
          complete the application in writing, but shall be required to execute the oath. In
          such cases, the Registrar shall read the application and oath to the elector, and
          the elector's answers thereto shall be written by the Registrar in completion of
          the application, with the elector making his mark, if unable to sign his or her
          name upon the oath.

Source: Miss. Code Ann. Sections 23-15-7(6) and 23-15-7(8).

Rule 3.5         Documentation Required for Issuance of the Mississippi Voter
Identification Card. Before issuing a Mississippi Voter Identification Card, the Registrar
shall require an elector to:

   A. Complete and sign an application, and
   B. Present any one of the following forms of documentation:

       1. Photo Identity Document;
       2. Any documentation which sets forth the elector's full legal name, date and
          place of birth, including, but not limited to, a birth certificate;
       3. A Social Security card;
       4. A Medicare card;
       5. A Medicaid card;
       6. Any of the following documents, provided the document sets forth the elector's
          name and his or her principal residential address:
          i.     Utility bill issued within the past six (6) months,
          ii.    Bank statement issued within the past six (6) months,
          iii.   Paycheck issued within the past six (6) months,
          iv.    Government check issued within the past six (6) months, or
          v.     Any other government document that shows the elector’s name and his
                 or her principal residential address issued within the current calendar
                 year, including, but not limited to, an IRS Form W-2, Wage and Tax
                 Statement; or
       7. Mississippi Voter Registration Card.

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    C. If an elector cannot present any one of the forms of documentation set forth in
       Rule 3.5(B), the Registrar may electronically verify the elector's birth
       information by virtue of each Registrar's access to EVVE, free of charge. The
       verification of the elector's birth information by the Registrar shall provide the
       required identification of the elector. No additional form of identification as set
       forth in Chapter 3.5(B) shall be required of the elector.

   D. A qualified, eligible elector submitting an application for the Mississippi Voter
      Identification Card, who is unable to read or write, by reason of disability or
      otherwise, and who requests assistance, shall not be required to personally
      complete the application in writing, but shall be required to execute the oath. In
      such cases, the Registrar shall read the application and oath to the elector, and
      the elector's answers thereto shall be written by the Registrar in completion of
      the application, with the elector making his mark, if unable to sign his or her
      name upon the oath. The Registrar shall write the name of the applying elector
      around or adjacent to the mark and indicate that the mark is that of the applying
      elector.
   E. The oath of an eligible elector, submitting an application for the Mississippi Voter
      Identification Card, who is unable to read or write by reason of disability or
      otherwise, who requests assistance, and who is unable to execute the oath by
      signing his or her name or making his or her mark, shall be completed by the
      Registrar on behalf of the applying elector. The Registrar shall write the elector’s
      name in completion of the oath and indicate that the applying elector is unable to
      sign his or her name or make his or her mark upon the oath.

Source: Miss. Code Ann. Sections 23-15-7(6) and 23-15-7(8).

Rule 3.5 3.6   Processing the Application for the Mississippi Voter Identification Card by
               Registrar.

        A. To process the elector's application for the Mississippi Voter Identification
           Card, the Registrar shall require the elector to:
           1. Complete, sign, and submit the Mississippi Voter Identification Card
              Application, set forth in Rule 3.3 and
           2. to Present at least one of the forms of documentation identification set
              forth in Rule 3.4(B) 3.5(B) or satisfy the requirements of Rule 3.5(C).
        B.    If the elector presents a Photo Identity identification Document pursuant
              to Rule 3.4(B)(l) 3.5(B)(1), the Registrar shall verify:

                 I.    The photograph on the document "fairly depicts" the elector
                       based on the guidelines set forth in Rule 4.1(C)(2) (B)(2) below;
                 2.    The name on the document and the application is "substantially
                       similar" to the name of the elector in SEMS on the voter roll
                       based on the guidelines set forth in Rule 4.1(C)(3) (B)(3) below;
                       and
                 3.    The address provided on in the application is the same address of
                       the elector in SEMS on the voter roll.
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   C.    If the elector submits documentation pursuant to Rule 3.5(B)(2),
         3.4(B)(2), the Registrar shall verify the name on the document and
         that the application is "substantially similar" to the name of the elector
         in SEMS on the voter registration rolls based on the guidelines set
         forth in Rule 4.1(C)(3) ( B) ( 3)below.

   D.    If the elector submits documentation pursuant to Rule 3.4(B)(3)- (6) (7),
   the
         Registrar shall verify:

         1. The name on the document and the application is "substantially
            similar" to the name of the elector in SEMS on the voter registration
            rolls based on the guidelines set forth in Rule 4.1(C)(2) (B)(3) below;
            and
         2. The address provided in the document, if any, and the address provided
            in the application is the same address of the elector in SEMS on the
            voter registration rolls;
         3. If the elector is not registered to vote by the address provided in the
            document and provided in the application, the Registrar should shall
            change the elector's address as it appears on the voter roll in SEMS to
            match the address provided in the document and applications; and
         4. If the elector is not registered to vote by his or her full legal name
            (because the elector used an initial, abbreviation, maiden name, etc.),
            the Registrar shall change the elector’s name as it appears in SEMS to
            match the elector’s name as provided on his or her application.

   E.     If the elector completes, signs, and submits a valid application and
          presents at least any one of the forms of documentation identification
          set forth in Rule 3.4(B) 3.5(B), as verified by the Registrar pursuant to
          Rule 3.5(B)-(D), or satisfies the requirements of Rule 3.5(C), the Registrar
          shall immediately:

         1. Capture a digital photograph of the elector utilizing the equipment,
            supplies and training provided by the State of Mississippi,
         2. Issue the Receipt for the Mississippi Voter Identification Card to the
            elector, which shall contain the digital photograph of the elector,
            utilizing the equipment, supplies and training provided by the State of
            Mississippi, if an election is to be held within forty-five (45) days of
            the date of the elector’s application,
         3. Inform the elector that he or she shall should receive the Mississippi
            Voter Identification Card within fourteen (14) calendar days, and may
            use the Receipt for the Mississippi Voter Identification Card to vote in
            any election held within for forty-five (45) days from the date of the
            elector’s application issuance, and
         4. Transmit the required information to produce the Receipt for the
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                  Receipt
                  for the Mississippi Voter Identification Card to the third-party vendor.

        F.     If the elector is not registered to vote by his or her full legal name
               (because the elector used an initial, abbreviation, maiden name, etc.),
               the Registrar should change his or her name as it appears on the voter
               roll in SEMS.
        G.     If the elector completes, signs and submits a valid application, but the
        Registrar
               determines the form of identification presented by the elector does not
               satisfy the requirements of Rule 3.5(B) or Rule 3.5(C) 3.4(B), the
               Registrar shall immediately advise the elector of the reason(s) why the
               application has been denied, and further advise the elector of the
               availability of an appeal process identical to the process provided an
               elector denied registration pursuant to Miss. Code Ann. Sections 23-15-
               61 and 23-15-63.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.7 3.6 Automatic Review and Appeal of a Registrar's Denial of Application for
Mississippi Voter Identification Card. In the event an elector is denied issuance of a
Mississippi Voter Identification Card, there shall be an automatic review by the county
election commissioners and appeal process available to the elector pursuant to Miss.
Code Ann. Sections 23-15-61 through 23-15-79.

Source: Miss. Code Atm. Section 23-15-7(8).

Rule 3.8 3.7   Cancellation and Surrender of Mississippi Voter Identification Card.

        A. The Registrar of each county may cancel and require surrender of a
           Mississippi Voter Identification Card upon confirmation that the card was
           issued to a person not entitled thereto.
        B. A Mississippi Voter Identification Card may be cancelled or required to be
           surrendered by the elector if:
               1. The elector is deceased,
               2. The elector is convicted of a disenfranchising crime,
               3. The elector is adjudicated to be incompetent,
               4. The elector has moved outside of the State of Mississippi, or
               5. The elector is otherwise no longer qualified to vote in Mississippi.
        C. Any Registrar, who that cancels and/or requires surrender of a Mississippi
           Voter Identification Card shall immediately record the event in the Statewide
           Elections Management Systems in SEMS, and provide written notice to the
           elector by United States mail to the address provided for the elector in
           SEMS. The notice to the elector shall advise the elector of his or her right
           to appeal the cancellation or required surrender of the Mississippi Voter
           Identification Card pursuant to a process identical to the process set forth in
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             Miss. Code Ann. Sections 23-15-61 and 23-15-63.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.8 3.9 Replacement of Mississippi Voter Identification Card. If a previously
issued Mississippi Voter Identification Card has been lost, destroyed, marred or
mutilated, the name of the elector has changed, or the gender of the elector has changed,
a replacement Mississippi Voter Identification Card may be issued to the elector in
accordance with Rules 3.3 through 3.6 the procedures set forth herein at Chapters 3.3, 3.4
and 3.5.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 3.9 3.10    Expiration Validity of Mississippi Voter Identification Card.

        A.      A Mississippi Voter Identification Card shall remain valid for as
                long as the elector resides at the same address and remains
                qualified to vote in Mississippi.

        B.      It shall be the duty of an elector who moves his or her residence to
                another county within this outside the state of Mississippi, to surrender
                his or her Mississippi Voter Identification Card to the Registrar of the
                county of his or her new residence and the elector may thereafter apply
                for and receive a new Mississippi Voter Identification Card pursuant to
                Rules 3.4 and 3.5 above. It shall be the duty of an elector who moves his
                or her residence outside this state or who ceases to be qualified to vote
                in Mississippi, to either surrender his or her card to the issuing Registrar
                or destroy the same.

 Source: Miss. Code Ann. Section 23-15-7(8).

 Part 16 Chapter 4: Voting with Acceptable Photographic Identification Documents.

 Rule 4.1       Election Official Determination Assessment of Validity of Acceptable
                Photographic Identification Documents.


   A. When an Each qualified elector, who is not exempt from these requirements and
      who appears to vote in person by absentee ballot in the Registrar’s Office or
      Municipal Clerk’s Office, or in person at his or her a polling place on an
      election day or at the Registrar's office, must the election official shall require
      the elector to identify himself or herself by presenting Acceptable Photographic
      Identification as defined by Rule 1.1(A) before the elector may cast his or her
      ballot and vote.

   B. The election official shall verify assess the sufficiency and validity of the
      photographic identification presented by the elector as follows:

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  1. Verify The presented document is one of the forms of accepted
     Acceptable Photographic Identification as defined by Rule 1.1(A) 2.1.

  2. Verify The photograph on the accepted Acceptable Photographic
     Identification "fairly depicts" the elector.

         a. If the election official is unable to determine whether the elector is
            the person depicted in the accepted Acceptable Photographic
            Identification because of degradation or insufficient photograph
            quality, the elector shall be entitled to vote by affidavit, or
            affirmatively determines the elector is not the person depicted in the
            Acceptable Photographic Identification, the election official shall
            confer with the poll manager designated as the Bailiff, if the elector
            is voting in person in the polling place on an election day, or a
            second election official, if the elector is voting by absentee ballot in
            the Registrar’s office or Municipal Clerk’s Office.
         b. If the Bailiff, or second election official, is likewise unable to
            determine whether the elector is the person depicted in the
            Acceptable Photographic Identification, or affirmatively determines
            the elector is not the person depicted in the Acceptable
            Photographic Identification, the elector shall be entitled to vote by
            affidavit ballot.
         c. If the Bailiff, or the second election official, is able to determine the
            elector is the person depicted in the Acceptable Photographic
            Identification, the elector shall be entitled to cast his or her ballot.

  3. Verify The elector's name as it appears on the accepted Acceptable
     Photographic Identification is "substantially similar" to the elector's
     name as it appears on the poll book.

         a. An elector’s name on the presented Acceptable Photographic
            Identification document is "substantially similar" to the name on
            the poll book if one or more of the following circumstances are
            present:

                 i. The name on the accepted Acceptable Photographic
                     Identification is slightly different from the name as it appears
                     on the poll book;
                 ii. The name on the accepted Acceptable Photographic
                     Identification,
                     or on the poll book, is a customary variation or abbreviation
                     of the formal name such as, for purposes of illustration only,
                     "Bill" or "Wm." for "William", or “Pam” for “Pamela”;

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               iii. The name on the accepted Acceptable Photographic
                    Identification includes an initial, or a middle name that does
                    not appear on the poll book, or vice versa, such as, for
                    purposes of illustration only, "James W. Smith" or "James
                    Wilson Smith"; or
               iv. A first name, middle name, former name, maiden name or
                    initial of the elector's name appears in a different order on the
                    accepted Acceptable Photographic Identification than the
                    name appears on poll book, such as, for purposes of
                    illustration only, "Alice Elizabeth Roberts" for "Elizabeth
                    Alice Roberts".

        b. If the elector's middle or last name on the accepted Acceptable
           Photographic Identification is different from his or her middle or last
           name as it appears on the poll book due to marriage, divorce, or
           hyphenation, the elector shall be entitled to cast his or her ballot if:

              i. A part of the name, the address and or the date of birth (if
                 provided) on the Acceptable Photographic Identification
                 document matches a part of the name, the address and or the
                 date of birth of the elector on the poll book; and
             ii. The photograph on the Acceptable Photographic Identification
                 "fairly depicts" the elector.

        c. If the election official is unable to determine whether the elector’s
           name, as it appears on the Acceptable Photographic Identification, is
           “substantially similar” to the name as it appears on the poll book, the
           election official shall confer with the poll manager designated as the
           Bailiff, if the elector is voting in person in the polling place on an
           election day, or a second election official, if the elector is voting by
           absentee ballot in the Registrar’s office or Municipal Clerk’s Office.

        d. If the Bailiff, or second election official, is likewise unable to
           determine whether the elector’s name, as it appears on the Acceptable
           Photographic Identification, is “substantially similar” to the name as it
           appears on the poll book, the elector shall be entitled to vote by
           affidavit ballot.

        e. If the Bailiff, or second election official, is able to determine the
           elector’s name, as it appears on the Acceptable Photographic
           Identification, is “substantially similar” to the name as it appears on
           the poll book, the elector shall be entitled to cast his or her ballot.

        f. If the election officials determines, pursuant to Rules 4.1(B)(1)-(3)
           (C)(l )-(3), that the photographic identification document presented
           by the elector is an Acceptable Photographic Identification, "fairly
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                   depicts" the elector, and contains the name of the elector that is
                   "substantially similar" to the name as it appears on the poll book,
                   the elector shall be entitled to cast his or her ballot.

               g. If the election officials determines, pursuant to Rules 4.1(B)(1)-(3)
                  (C)(1)-(3), that the photographic identification document presented
                  by the elector is not an Acceptable Photographic Identification, does
                  not "fairly depict" the elector, or does not contain the name of the
                  elector that is "substantially similar" to the name as it appears on
                  the poll book, the elector shall be entitled to vote by affidavit ballot
                  pursuant to Miss. Code Ann. Section 23-15-573.

Source: Miss. Code Ann. Section 23-15-7(8).

Part 16 Chapter 5: Voting by Affidavit Ballot

Rule 5.1 If a qualified elector appears at a Registrar's office or Municipal Clerk’s
Office to vote by absentee ballot, or at a polling place to vote on an in any election
day, yet is unable to present produce an Acceptable Photographic Identification, or
states that he or she has a religious objection to being photographed, the elector shall be
permitted entitled to vote by affidavit ballot pursuant to Miss. Code Ann. Section 23-15-
573.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 5.2 An affidavit ballot cast by an elector because he or she was who is unable
to present produce an Acceptable Photographic Identification, either at the
Registrar's Office or at the polling place in any election other than a
municipal on election day shall not be rejected for this reason counted as a vote if,
within five (5) business days after casting his or her affidavit ballot, the elector
presents Acceptable Photographic Identification, in person, to the Registrar’s Office
of the elector’s county of residence an acceptable photographic identification.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 5.3 An affidavit ballot cast by an elector with a religious objection to being
photographed shall be counted as a vote if, within five (5) business days after castil1g
his or her affidavit ballot, the elector executes a separate affidavit before the Registrar
affirming the religious objection of the elector to being photographed. An affidavit
ballot cast by an elector because he or she was unable to present Acceptable
Photographic Identification, either at the Municipal Clerk’s Office or at the polling
place in a municipal election, shall not be rejected for this reason if, within five (5)
business days after casting his or her affidavit ballot, the elector presents Acceptable
Photographic Identification, in person, to the Municipal Clerk’s Office of the elector’s
municipality of residence.

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Source: Miss. Code Ann. Section 23-15-7(8).

Part 16 Chapter 6: Exempted Electors

Rule 6.1       Religious Objectors.

       A. An elector who states that he or she does not have an Acceptable Photographic
          Identification due to a religious objection to being photographed shall be
          allowed entitled to vote by affidavit ballot pursuant to Miss. Code Ann.
          Section 23-15-573.

       B. An affidavit ballot, cast by an elector with a religious objection to being
          photographed in any election other than a municipal election, shall not be
          rejected for this reason counted as a vote if, within five (5) business days after
          casting his or her affidavit ballot, the elector executes a separate affidavit before
          the Registrar of the elector’s county of residence affirming the religious
          objection of the elector to being photographed.

       C. An affidavit ballot, cast by an elector with a religious objection to being
          photographed in a municipal election, shall not be rejected for this reason if,
          within five (5) business days after casting his or her affidavit ballot, the elector
          executes a separate affidavit before the Municipal Clerk of the elector’s city of
          residence affirming the religious objection of the elector.

Source: Miss. Code Ann. Section 23-15-7(8).

Rule 6.2 Electors who are residents of a licensed nursing home or assisted living
center, and who vote by absentee ballot by mail, are exempt from the requirements of
photographic identification. An elector who resides at a state-licensed care facility and
who votes in person at a polling place located in that state-licensed care facility, is
exempt from photo identification requirements.

Source: Miss. Code Ann. Section 23-15-7(8).

Part 16 Chapter 7. Inapplicability of Photo Identification Requirements to Electors
                   Voting by Absentee Ballot Pursuant to UOCAVA, Miss. Code Ann.
                   Sections 23-15-715(b) and 23-15-673.

Rule 7.1       Absentee Voting by Mail. An elector who receives and casts his or her
vote by absentee ballot by mail pursuant to Miss. Code Ann. Section 23-15-715(b) is
exempt from photo identification the requirements of photographic identification.

Source: Miss. Code Ann. Sections 23-15-7(8) and 23-15-715(b).

Rule 7.2       UOCAVA Voting. An absent elector, as defined by Miss. Code Ann.
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Section 23-15-673, who receives and casts his or her vote by absentee ballot by mail,
facsimile device (FAX) or electronic mail delivery (e-mail), pursuant to Miss. Code Ann.
Section 23-15-699 is exempt from photo identification the requirements of photographic
identification.

Source: Miss. Code Ann. Sections 23-15-7(8), 23-15-673 and 23-15-699.

Rule 7.3        In Person Absentee Voting. An elector who appears in person before the
Registrar of the county in which he or she resides, receives and casts his or her vote by
absentee ballot pursuant to Miss. Code Ann. Section 23-15-715(a) is subject to the
requirements of photographic identification.

Source: Miss. Code Ann. Section23-15-7(8) and 23-15-631(3).




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                                                                                                                                                           Report No : VR-028
                   Precincts : All Status : All   Registration Period Till : 7/15/2014   Election : 06/03/2014 - 2014 June Primary    Period Till : 06/03/2014

Voter ID         Voter Name                               Residential/Mailing Address                 City              Precinct                     Eff Regn Date   Party
Election Participation Date

5762740          ABRAM, ALICE LEE                          P O BOX 1953, PRENTISS, MS 39474           PRENTISS         Mt Carmel 42                  06/04/1985         D



6/3/2014(D)

5752631          ABRAM, STEPHEN ERIC                       P O BOX 1953, PRENTISS, MS 39474           PRENTISS         Mt Carmel 42                  10/04/2000         D



6/3/2014(D)

5754429          ADAMS, ANGIE R                            P.O. BOX 368, BASSFIELD, MS 39421          BASSFIELD        Bassfield 31                  06/10/1985         D



6/3/2014(D)

5763071          ADAMS, LEVATOR JR                         188 SHORT CHAPEL LOOP, CARSON, MS          CARSON           Green'S Creek 23              06/17/1995         D
                                                          39427

6/3/2014(D)

5757672          ADAMS, ROBERT L                           P.O.BOX 1372, PRENTISS, MS 39474           PRENTISS         North West Prentiss 53        07/19/2004         D



6/3/2014(D)

775010266        ADDISON, MARVEL S JR                      892 OAK GROVE RD, PRENTISS, MS             PRENTISS         North West Prentiss 53        10/06/2006         D
                                                          39474

6/3/2014(D)

5759221          ALLDAY, MARY STEPUENS                     15 STEPHENS LP., CARSON, MS 39427          CARSON           Bassfield 26                  07/07/1995         R



6/3/2014(R)

575111078        ALLISON, JAMES H                          P. O. BOX 100, PRENTISS, MS 39474          PRENTISS         South Prentiss 12             10/13/2011         D



6/3/2014(D)



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                                                                                                                                                           Report No : VR-028
                   Precincts : All Status : All   Registration Period Till : 7/15/2014   Election : 06/03/2014 - 2014 June Primary    Period Till : 06/03/2014

Voter ID         Voter Name                               Residential/Mailing Address                 City              Precinct                     Eff Regn Date   Party
Election Participation Date

5754770          ANDERSON, CECIL G                         291 ANDERSON RD, BASSFIELD, MS             BASSFIELD        Bassfield 31                  04/22/1985         R
                                                          39421

6/3/2014(R)

5763457          ANDERSON, DEBORAH A                       318 SAM DURR RD., MT OLIVE, MS 39119 MT OLIVE               Clem 41                       10/05/2001         D



6/3/2014(D)

5752988          ANDERSON, HERBERT J                       318 SAM DURR RD., MT OLIVE, MS 39119 MT OLIVE               Clem 41                       10/05/2001         D



6/3/2014(D)

5759043          ANDERSON, LEON MARSHALL                   702 GRANBY RD, PRENTISS, MS 39474          PRENTISS         Granby 11                     02/01/1988         D



6/3/2014(D)

5764197          ANDERSON, NELLIE B                        702 GRANBY RD, PRENTISS, MS 39474          PRENTISS         Granby 11                     02/01/1988         D



6/3/2014(D)

5754767          ANDERSON, VIVIAN                          291 ANDERSON RD, BASSFIELD, MS             BASSFIELD        Bassfield 31                  05/03/1985         R
                                                          39421

6/3/2014(R)

5756309          ANDREWS, BARBARA JEANINE.                 P. O. BOX 245, CARSON, MS 39427            CARSON           Carson 22                     08/01/1988         R



6/3/2014(R)

5756307          ANDREWS, JACK B                           P. O. BOX 245, CARSON, MS 39427            CARSON           Carson 22                     08/22/1988         R



6/3/2014(R)



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Voter ID         Voter Name                              Residential/Mailing Address                  City               Precinct                     Eff Regn Date   Party
Election Participation Date

5762740          ABRAM, ALICE LEE                         P O BOX 1953, PRENTISS, MS 39474            PRENTISS          Mt Carmel 42                  06/04/1985          D



6/24/2014(D)

5752631          ABRAM, STEPHEN ERIC                      P O BOX 1953, PRENTISS, MS 39474            PRENTISS          Mt Carmel 42                  10/04/2000          D



6/24/2014(D)

5762167          ADAMS, PATRICIA D                        186 SHORT CHAPEL LP, CARSON, MS             CARSON            Green'S Creek 23              03/24/1987          R
                                                         39427

6/24/2014(R)

5759221          ALLDAY, MARY STEPUENS                    15 STEPHENS LP., CARSON, MS 39427           CARSON            Bassfield 26                  07/07/1995          R



6/24/2014(R)

1416017          AMASON, MARY J                           180 E. GRANBY ROAD, PRENTISS, MS            PRENTISS          North East Prentiss 43        04/09/2013          R
                                                         39474

6/24/2014(R)

5754770          ANDERSON, CECIL G                        291 ANDERSON RD, BASSFIELD, MS              BASSFIELD         Bassfield 31                  04/22/1985          R
                                                         39421

6/24/2014(R)

5763457          ANDERSON, DEBORAH A                      318 SAM DURR RD., MT OLIVE, MS 39119 MT OLIVE                 Clem 41                       10/05/2001          D



6/24/2014(D)

5762901          ANDERSON, GLENN EDWARD                   P.O. BOX 54, PRENTISS, MS 39474             PRENTISS          North East Prentiss 43        08/02/1988          R



6/24/2014(R)



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Voter ID         Voter Name                              Residential/Mailing Address                  City               Precinct                     Eff Regn Date   Party
Election Participation Date

5752988          ANDERSON, HERBERT J                      318 SAM DURR RD., MT OLIVE, MS 39119 MT OLIVE                 Clem 41                       10/05/2001          D



6/24/2014(D)

5752748          ANDERSON, JOHN E                        363 GARLAND BROOME RD, PRENTISS,             PRENTISS          North East Prentiss 43        10/11/1985          R
                                                         MS 39474

6/24/2014(R)

5754767          ANDERSON, VIVIAN                         291 ANDERSON RD, BASSFIELD, MS              BASSFIELD         Bassfield 31                  05/03/1985          R
                                                         39421

6/24/2014(R)

5756309          ANDREWS, BARBARA JEANINE.                P. O. BOX 245, CARSON, MS 39427             CARSON            Carson 22                     08/01/1988          R



6/24/2014(R)

5756307          ANDREWS, JACK B                          P. O. BOX 245, CARSON, MS 39427             CARSON            Carson 22                     08/22/1988          R



6/24/2014(R)

5756684          ANDREWS, JEREMIAH S                      P.O. BOX 134, CARSON, MS 39427              CARSON            Carson 22                     03/11/2010          R



6/24/2014(R)

5759988          APPLEWHITE, ANNITA                      5210 N WILLIAMSBURG RD, BASSFIELD,           BASSFIELD         Bassfield 31                  05/31/1985          R
                                                         MS 39421

6/24/2014(R)

5754762          APPLEWHITE, DIANE                        P.O. BOX 72      , BASSFIELD, MS 39421      BASSFIELD         Bassfield 31                  07/01/1985          D



6/24/2014(D)



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                                                                        Unofficial Voting List                                                             Date : 07/15/2014
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  Precincts : All Status : All   Registration Period Till : 7/15/2014   Election : 06/24/2014 - Run Off Election for '6/3/2014 - 2014 June Primary'   Period Till : 06/24/2014

Voter ID         Voter Name                              Residential/Mailing Address                  City               Precinct                     Eff Regn Date   Party
Election Participation Date

5759726          APPLEWHITE, JAMES R                      P.O. BOX #266, BASSFIELD, MS 39421          BASSFIELD         Bassfield 26                  04/16/2001          R



6/24/2014(R)

5759727          APPLEWHITE, MARION R                     65 JEFFERSON AVE, BASSFIELD, MS             BASSFIELD         Bassfield 26                  04/16/2001          R
                                                         39421

6/24/2014(R)

5754786          APPLEWHITE, TOWONDER M                   205 STUBBS ROAD, BASSFIELD, MS              BASSFIELD         Bassfield 31                  03/21/1995          D
                                                         39421

6/24/2014(D)

5750436          ARGABRIGHT, CAROLE K                     P.O. BOX 412, PRENTISS, MS 39474            PRENTISS          North West Prentiss 53        09/30/2002          R



6/24/2014(R)

5760666          ARMSTRONG, ELIZABETH K                   345 WARD MILL RD., BASSFIELD, MS            BASSFIELD         Bassfield 31                  07/01/1985          R
                                                         39421

6/24/2014(R)

5762707          ARMSTRONG, KYSETA D                      234 LUCAS WARNER RD., PRENTISS, MS          PRENTISS          North West Prentiss 53        09/27/1985          D
                                                         39474

6/24/2014(D)

5749117          ARMSTRONG, MAYETTA                       627 SOPHIA SUTTON RD, PRENTISS, MS          PRENTISS          Whiting 56                    07/16/1985          D
                                                         39474

6/24/2014(D)

5754684          ARNOLD, THOMAS                          5597 N WILLIAMSBURG RD, BASSFIELD,           BASSFIELD         Bassfield 31                  08/27/1985          D
                                                         MS 39421

6/24/2014(D)



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